08-13555-scc       Doc 61373         Filed 12/07/21 Entered 12/07/21 20:36:34              Main Document
                                                 Pg 1 of 6



 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------------- x
                                                                         :   Chapter 11
  In re                                                                  :
                                                                         :   Case No. 08-13555 (SCC)
  LEHMAN BROTHERS HOLDINGS INC., et al.,                                 :
                                                                         :   (Jointly Administered)
                                               Debtors.                  :
                                                                         :   Ref. Docket Nos. 61305,
                                                                         :   61317, & 61344
                                                                         :
  ---------------------------------------------------------------------- x



                                         AFFIDAVIT OF SERVICE

  STATE OF CONNECTICUT )
                       ) ss.:
  COUNTY OF MIDDLESEX )

 ANGHARAD BOWDLER, being duly sworn, deposes and says:

 1. I am employed as Director of Client Services by Epiq Corporate Restructuring, LLC, with its
    principal office located at 777 Third Avenue, New York, New York 10017. I am over the age
    of eighteen years and am not a party to the above-captioned action.

 2. On December 1, 2021, I caused to be served the customized “Notice of Defective Transfer,” a
    sample of which is annexed hereto as Exhibit A, by causing true and correct copies to be
    enclosed securely in separate postage pre-paid envelopes and delivered via first class mail to
    those parties listed on the annexed Exhibit B.
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 3. All envelopes utilized in the service of the foregoing contained the following legend:
    “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
    ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”


                                                                 /s/ Angharad Bowdler
                                                                 Angharad Bowdler
 Sworn to before me this
 7th day of December, 2021
 /s/ Amy E. Lewis
 Notary Public, State of Connecticut
 Acct. No. 100624
 Commission Expires: 8/31/2022
08-13555-scc   Doc 61373   Filed 12/07/21 Entered 12/07/21 20:36:34   Main Document
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                                   Exhibit A
 UNITED STATES BANKRUPTCY COURT
                 08-13555-scc                  Doc 61373               Filed 12/07/21 Entered 12/07/21 20:36:34                                 Main Document
 Southern District of New York
                                                                                   Pg 4 of 6

 In re                                                                               Chapter 11 Case No.

 LEHMAN BROTHERS HOLDINGS INC., et al.,                                              08-13555 (SCC)

                 Debtors.                                                            (Jointly Administered)



                                                                       NOTICE OF DEFECTIVE TRANSFER




              BAR(23) MAILID *** 000202612517 ***                        LBH DEFTRFNTC (ADDRESS2, ADRKEYID3) 12298
To:


              %"$!)'!#'"#& )" "'#%)#!''!#%& %& " '!)-%& & %& %&$!*!&"*%&*!')!1
              CREDIT SUISSE (LUXEMBOURG) S.A.                                                                          CREDIT SUISSE (LUXEMBOURG) S.A.
              CRAVATH, SWAINE & MOORE LLP                                                                              ZWEIGNIEDERLASSUNG OSTERREICH
              WORLDWIDE PLAZA                                                                                          ATTN: PAUL GILMORE
              ATTN: RICHARD LEVIN                                                                                      ELEVEN MADISON AVE
              825 EIGHTH AVENUE                                                                                        NEW YORK, NY 10010
              NEW YORK, NY 10019




              PACHER PRIVATSTIFTUNG
              PRIELSTRASSE 12
              A-4600 WELS
              AUSTRIA




Your transfer of claim # 55818 is defective for the reason(s) checked below:

Other ISIN ON TRANSFER FORM IS NOT RELATED TO CLAIM 55818




Docket Number      61344                                         Date: 11/10/2021


/s/ Andrea Speelman




Epiq Corporate Restructuring, LLC
as claims agent for the debtor(s).

FOR EBS USE ONLY:           This notice was mailed to the transferor, transferee, and debtor(s) counsel by first class mail, postage prepaid on December 1, 2021.
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                                   Exhibit B
                                        LEHMAN BROTHERS HOLDINGS INC.
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                                                   SERVICE LIST
                                                                                             Main Document
                                                      Pg 6 of 6
Claim Name                               Address Information
ALVAREZ REGUERAS, MARIA CONCEPCION       N/A, N/A   N/A
ANNA BELLA MATOTE BENITO                 N/A, N/A   N/A
BANKINTER, SA                            ATTN: ANA ISABEL CASUSO ROMERO, PASEO DE LA CASTELLANA, 29, 28046 MADRID
                                         SPAIN
BANKINTER, SA                            ATTN: ANA ISABEL CASUSO ROMERO, PASEO DE LA CASTELLANA, 29, 28046 MADRID
                                         SPAIN
CREDIT SUISSE (LUXEMBOURG) S.A.          ZWEIGNIEDERLASSUNG OSTERREICH, ATTN: PAUL GILMORE, ELEVEN MADISON AVE, NEW
                                         YORK, NY 10010
CREDIT SUISSE (LUXEMBOURG) S.A.          CRAVATH, SWAINE & MOORE LLP, WORLDWIDE PLAZA, ATTN: RICHARD LEVIN, 825 EIGHTH
                                         AVENUE, NEW YORK, NY 10019
CREDIT SUISSE (LUXEMBOURG) S.A.          ADVISORY AND ORDER FULFILMENT (SEBL 4), 56, GRAND RUE, PO BOX 40, LUXEMBOURG
                                         2010 LUXEMBOURG
CREDIT SUISSE (LUXEMBOURG) S.A.          RICHARD LEVIN, ESQ., CRAVATH, SWAINE & MOORE LLP, 825 8TH AVENUE, NEW YORK, NY
                                         10019
PACHER PRIVATSTIFTUNG                    PRIELSTRASSE 12, A-4600 WELS   AUSTRIA




                                  Total Creditor Count 9




Epiq Corporate Restructuring, LLC                                                                         Page 1 OF 1
